Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 1 of 19 Page ID #:3082




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   13                            UNITED STATES DISTRICT COURT

   14             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

   15 SOCHIL MARTIN,                             Case No. 2:20-cv-01437-FWS-AS

   16              Plaintiff,
                                                 JOINT RULE 26(f) REPORT
   17        v.

   18 LA LUZ DEL MUNDO, an unincorporated         Sched. Conf.
      association, NAASÓN JOAQUÍN GARCÍA,         Date:        September 8, 2022
   19 an individual, EL CONSEJO DE OBISPOS,       Time:        9:00 A.M.
      an unincorporated association,              Courtroom: 10D
   20 INTERNATIONAL BEREA USA, an
      unincorporated association, GILBERTO
   21 GARCÍA GRANADOS, an individual, JOSE
      HERNANDEZ, an individual, UZZIEL
   22 JOAQUÍN, an individual, SILVERIO
      CORONADO, an individual, AURELIO
   23 ZAVALETA, an individual, JOSE LUIS
      ESTRADA, an individual, JONATHAN
   24 MENDOZA, an individual, ALMA ZAMORA
      DE JOAQUÍN, an individual, BENJAMIN
   25 JOAQUÍN GARCÍA, an individual, RAHEL
      JOAQUÍN GARCÍA, an individual,
   26 ADORAIM JOAQUÍN ZAMORA, an
      individual, DAVID MENDOZA, an individual
   27 and DOES 1 through 10, inclusive.

   28              Defendants.
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 2 of 19 Page ID #:3083




    1        Plaintiff SOCHIL MARTIN (“Plaintiff”) and Defendants LA LUZ DEL
    2 MUNDO (“LLDM”), NAASÓN JOAQUÍN GARCÍA, COMMUNICATION

    3 CENTER BEREA U.S.A. LLC (erroneously sued as INTERNATIONAL BEREA

    4 USA) (“Berea”), GILBERTO GARCÍA GRANADOS, JOSE HERNANDEZ,

    5 UZZIEL JOAQUÍN, SILVERIO CORONADO, AURELIO ZAVALETA, JOSE

    6 LUIS ESTRADA, JONATHAN MENDOZA, BENJAMIN JOAQUÍN GARCÍA,

    7 ALMA ELIZABETH JOAQUÍN (erroneously sued as ALMA ZAMORA DE

    8 JOAQUÍN ), ADORAIM JOSADAC JOAQUÍN (erroneously sued as ADORAIM

    9 JOAQUÍN ZAMORA), and DAVID MENDOZA (“Defendants”) (collectively
   10 referred to herein as the “Parties”), by and through their respective attorneys of

   11 record, conducted the conference of the parties pursuant to Federal Rule of Civil

   12 Procedure 26(f), Central District Local Rule 26-1, and this Court’s Order Setting

   13 Rule 26(f) Scheduling Conference (Docket No. 148), and the Parties hereby submit

   14 this Joint Rule 26(f) Report.

   15 I.     STATEMENT OF THE CASE:
   16        Plaintiff’s Statement:
   17        Plaintiff brought this action against international organization La Luz Del
   18 Mundo (“LLDM”), its leader and self-appointed “Apostle” Naasón Joaquin Garcia,

   19 and various other LLDM officials and members for subjecting her to a lifetime of
   20 rape, beatings, sexual servitude, forced labor, and other abuse, as part of a decades-

   21 long, coordinated pattern of institutionalized child abuse and human trafficking.

   22 From the age of nine to thirty, Plaintiff was enslaved, trafficked, and sexually

   23 abused by the leaders of LLDM—Samuel Joaquin Flores and Naasón Joaquín

   24 García. Plaintiff specifically alleges various members of the Church’s senior

   25 leadership directed, assisted, conspired, and acted in concert with each other to

   26 commit the abuse and other harms she endured throughout Mexico and California.

   27 Plaintiff alleges that both sexual abuse and forced labor are systemic practices that

   28 have been institutionalized within LLDM. Plaintiff also alleged that Defendants
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                                  JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 3 of 19 Page ID #:3084




    1 engaged in a pattern and practice of racketeering activity for the purpose of

    2 extracting financial and sexual services from LLDM followers for their personal

    3 gain. Plaintiff alleges that Defendants were financially rewarded for their

    4 involvement with trafficking suitable children to Naasón (and the previous Apostle,

    5 Samuel) and benefited financially from the unpaid, forced labor of Plaintiff and

    6 others members of LLDM in both Mexico and California. Plaintiff also alleges that,

    7 in carrying out and to cover up their criminal activities, Defendants engaged in

    8 various acts of witness intimidation and the obstruction of justice through threats of

    9 serve physical harm, ostracization, financial destruction, and spiritual damnation.
   10 Since leaving LLDM and since filing this action, Plaintiff has continued to receive

   11 threats of physical harm.

   12        Defendants’ Statement:
   13        Plaintiff Sochil Martin’s (“Martin”) story of “a lifetime of rape, beatings,
   14 sexual servitude, forced labor, and other abuse” and related conspiracy claims are pure

   15 fiction. For the better part of four years, Martin “shopped around” this story to various

   16 law firms in multiple States before finding someone who would take the case – current

   17 counsel of record. The lawsuit is nothing but a legal shakedown. Even prosecutors

   18 from two countries wanted nothing to do with her. Indeed, the office of the California

   19 Attorney General (“AG”) — who prosecuted Defendant Naason Garcia — met with
   20 Martin and specifically decided not to rely upon any of her claims or even to use her

   21 as a witness in its case. In fact, they expressly distanced Martin from the case as much

   22 as possible. In statements made on the record, the California AG went to great lengths

   23 to clarify that its case against Mr. Garcia had nothing to do with Martin.

   24        Martin was never “enslaved” or “trafficked” by Defendants. There is zero
   25 evidence to support Martin’s absurd theory that the members of the Council of

   26 Bishops (akin to the College of Cardinals in the Roman Catholic Church),

   27 Communication Center Berea USA, LLC (basically, a media outlet) as well as Mr.

   28 Garcia’s wife and son, somehow conspired among themselves to further an alleged
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                                   JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 4 of 19 Page ID #:3085




    1 and non-existent scheme to sexually abuse Martin, or to forced Martin to perform

    2 labor, or to financially benefit from any alleged misconduct. Martin and her attorneys

    3 have alleged these claims in hopes that the negative publicity created by the claims

    4 against Mr. Garcia will put pressure on and force Defendants to settle. It is pure

    5 extortion.

    6         To that end, Martin and her attorneys have conducted regular media events,
    7 including the date the case was filed and during the time the discovery was stayed.

    8 During these media events, Martin repeated and perpetuated the myth of victimhood

    9 that is reflected in her pleading. Defendants have not and will not bow to the pressure
   10 Martin is trying to exert through her media campaign.              Defendants intend to
   11 vigorously litigate this case to defend the reputation of the Defendants, the religious

   12 doctrine upon which they believe, and its millions of faithful members. Defendants

   13 expect the case to be summarily adjudicated in their favor, after discovery reveals that

   14 there is no evidence to support Martin’s scurrilous allegations.

   15 II.     SUBJECT MATTER JURISDICTION:
   16         This Court has federal subject matter jurisdiction over this action pursuant to
   17 28 U.S.C. § 1331 because this action arises under the Trafficking Victims Protection

   18 Reauthorization Act (18 U.S.C. § 1589 et seq.), the Fair Labor Standards Act (29

   19 U.S.C. § 201 et seq.), and the Racketeer Influenced and Corrupt Organizations Act
   20 (18 U.S.C. § 1961 et seq.). This Court has supplemental jurisdiction over all

   21 asserted state law claims pursuant to 28 U.S.C. § 1367, because all the state law

   22 claims are so related to, and arise from, the same common nucleus of operative facts

   23 as the federal claims, that they form part of the same case or controversy under

   24 Article III of the United States Constitution.

   25 / / /

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                                   JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 5 of 19 Page ID #:3086




    1 III.    LEGAL ISSUES:
    2         Plaintiff’s Statement:
    3         The key legal issues in this matter include:
    4             Whether defendants LLDM, Naason, Berea, Gilberto Garcia Granados,
    5               Jose Hernandez, Uzziel Joaquin, Silverio Coronado, Aurelio Zavaleta,
    6               Joes Luis Estrada, and Jonathan Mendoza violated laws against
    7               involuntary servitude (18 U.S.C. § 1584) as charged in the complaint;
    8             Whether defendants LLDM, Naason, Berea, Gilberto Garcia Granados,
    9               Jose Hernandez, Uzziel Joaquin, Silverio Coronado, Aurelio Zavaleta,
   10               Joes Luis Estrada, and Jonathan Mendoza violated laws against forced
   11               labor (18 U.S.C. § 1589) as charged in the complaint;
   12             Whether defendants LLDM, Naason, Berea, Gilberto Garcia Granados,
   13               Jose Hernandez, Uzziel Joaquin, Silverio Coronado, Aurelio Zavaleta,
   14               Joes Luis Estrada, and Jonathan Mendoza violated laws against
   15               trafficking with respect to forced labor or involuntary servitude (18
   16               U.S.C. § 1590) as charged in the complaint;
   17             Whether defendants conspired to violate the Trafficking Victims
   18               Protection Reauthorization Act (“TVPRA”) (18 U.S.C. § 1594) as
   19               charged in the complaint;
   20             Whether defendants LLDM, Naason, Berea, Gilberto Garcia Granados,
   21               Jose Hernandez, Uzziel Joaquin, Silverio Coronado, Aurelio Zavaleta,
   22               Joes Luis Estrada, and Jonathan Mendoza violated laws against
   23               obstructing enforcement of the TVPRA (18 U.S.C. § 1590b) as charged
   24               in the complaint;
   25             Whether all defendants violated laws against benefitting financially from
   26               trafficking in persons (18 U.S.C. § 1593A) as charged in the complaint;
   27 / / /

   28 / / /
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                                   JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 6 of 19 Page ID #:3087




    1            Whether defendants LLDM and Berea violated laws against unpaid labor
    2              (29 U.S.C. § 201 et seq. and Cal. Lab. Code §§ 203, 226.7, 1197, and
    3              1198.5) as charged in the complaint;
    4            Whether all defendants violated laws against racketeering (18 U.S.C. §
    5              1962) as charged in the complaint;
    6            Whether defendants LLDM and Naason Joaquin Garcia violated laws
    7              against sexual battery (Cal. Civ. Code § 1708.5 and Cal. Code Civ. Proc.
    8              § 340.1) as charged in the complaint;
    9            Whether defendants LLDM and Naason Joaquin Garcia violated laws
   10              against gender violence (Cal. Civ. Code § 52.4) as charged in the
   11              complaint; and
   12            The appropriate amount of any civil money award to Plaintiff, including
   13              compensatory and treble damages, unpaid wages, statutory penalties,
   14              treble damages, punitive damages, interest, and attorneys’ fees and costs.
   15        Defendants’ Statement:
   16            Whether Martin was held against her will by actual force, threats of
   17              force, or threats of legal coercion sufficient to compel service by her.
   18              (18 U.S.C. § 1584)
   19            Whether any Defendant knowingly provided or obtained the labor or
   20              services of Martin (1) by threats of serious harm to, or physical restraint
   21              against, that person or another person; (2) by means of any scheme, plan,
   22              or pattern intended to cause the person to believe that, if the person did
   23              not perform such labor or services, that person or another person would
   24              suffer serious harm or physical restraint; or (3) by means of the abuse or
   25              threatened abuse of law or the legal process. (18 U.S.C. § 1589)
   26            Whether any Defendant knowingly recruited, harbored, transported,
   27              provided, or obtained by any means, Martin for labor or services. (18
   28              U.S.C. § 1590)
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                                 JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 7 of 19 Page ID #:3088




    1            Whether any Defendant conspired with any other Defendant to violate
    2               18 U.S.C. §§ 1589, 1590.
    3            Whether LLDM and Berea violated any law against unpaid labor.
    4            Whether any Defendant(s) participated in two or more “predicate acts”
    5               sufficient to constitute a pattern of racketeering. (18 U.S.C. § 1962)
    6            Whether Martin suffered any cognizable damages under the statute.
    7            Whether defendants LLDM and Naason Joaquin Garcia violated laws
    8               against sexual battery (Cal. Civ. Code § 1708.5 and Cal. Code Civ. Proc.
    9               § 340.1) as charged in the complaint;
   10            Whether defendants LLDM and Naason Joaquin Garcia violated laws
   11               against gender violence (Cal. Civ. Code § 52.4) as charged in the
   12               complaint; and
   13            Whether Martin has suffered any damages for any of the foregoing
   14               claims.
   15 IV.    DAMAGES:
   16        Plaintiff’s Statement:
   17        Plaintiff is seeking the following damages in this action: (1) compensatory
   18 and special damages; (2) unpaid wages, including minimum wages and overtime

   19 premiums; (3) statutory penalties and liquidated damages; (4) punitive and
   20 exemplary damages; (5) treble damages; (6) pre- and post- judgment interest; (7)

   21 reasonable attorney’s fees and costs; and (8) other and further relief as may be

   22 deemed just and proper.

   23        Plaintiff alleges she was enslaved, trafficked, and sexually abused from the
   24 age of nine to thirty. The calculation of damages in this action will be the topic of

   25 expert discovery.

   26        Defendants’ Statement:
   27        Defendants contend Martin has not suffered any damages.
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                                  JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 8 of 19 Page ID #:3089




    1 V.      PARTIES AND EVIDENCE:
    2         Plaintiff:               Sochil Martin
    3         Defendants:              La Luz Del Mundo
    4                                  Naasón Joaquín García
    5                                  Communication Center Berea U.S.A. LLC
    6                                  (erroneously sued as International Berea USA)
    7                                  Jose Hernandez
    8                                  Uzziel Joaquin
    9                                  Silverio Coronado
   10                                  Aurelio Zavaleta
   11                                  Jose Luis Estrada
   12                                  Jonathan Mendoza
   13                                  Alma Elizabeth Joaquin
   14                                      (erroneously sued as Alma Zamora de Joaquin)
   15                                  Benjamin Joaquin García
   16                                  Adoraim Josadac Joaquin
   17                                      (erroneously sued as Adoraim Joaquin Zamora)
   18                                  David Mendoza
   19                                  Gilberto García Granados
   20         Percipient witnesses and key documents: The parties will include lists of
   21 percipient witnesses and documents in their respective initial disclosures pursuant to

   22 Rule 26(a)(1).

   23 VI.     INSURANCE:
   24         Defendants are unaware of any insurance coverage for any of the claims in
   25 this case.

   26 / / /

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                                  JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 9 of 19 Page ID #:3090




    1 VII. MANUAL FOR COMPLEX LITIGATION:

    2         Plaintiff’s Position:
    3         Plaintiff maintains this is a complex case and thus certain procedures of the
    4 Manual for Complex Litigation should be utilized. The case involves 15 defendants

    5 (including two institutions), federal and state claims (including federal RICO

    6 claims), and will likely include the need to conduct discovery in Mexico (requiring

    7 use of Hague Convention protocols for obtaining discovery in a foreign

    8 jurisdiction), given that she repeatedly had to travel between and within California

    9 and Mexico in order to perform forced labor and engage in sexual servitude for the
   10 benefit of Defendants.

   11         The Manual for Complex Litigation dedicates an entire section to RICO
   12 alone, describing the complexities of RICO cases. Given the complexity of the case,

   13 Plaintiff suggests regular status conferences with the Court every sixty (60) days, to

   14 ensure the Parties are on track with discovery efforts, provide for timely and

   15 informal resolution of disagreements, and ensure the case is on track with the case

   16 schedule. Plaintiff additionally suggests that some of the procedures set forth in the

   17 Manual with regard to discovery should be implemented, as set forth in Section D,

   18 below.

   19         Defendants’ Position:
   20         This case does not involve any issues that would require or benefit from the use
   21 of the Manual for Complex Litigation. See Wright & Miller, Federal Practice and

   22 Procedure, Civil § 1530. This is a single plaintiff case falsely alleging an assortment

   23 of torts and employment claims, all of which appear to have allegedly taken place in

   24 California. Therefore, Defendants do not believe the Manual need be employed.

   25 VIII. MOTIONS:

   26         Plaintiff’s Statement:
   27         Plaintiff does not anticipate filing any motions at this time.
   28 / / /
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                                      JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 10 of 19 Page ID #:3091




     1        Defendant’s Statement:
     2        Defendants may file a motion for judgment on the pleadings under Federal
     3 Rule of Procedure 12(c).

     4 IX.    DISPOSITIVE MOTIONS:
     5        Plaintiff’s Statement:
     6        Plaintiff does not anticipate filing any motions at this time.
     7        Defendant’s Statement:
     8        Defendants anticipate filing several dispositive motions, including motions
     9 for summary judgment and/or adjudication under Federal Rule of Civil Procedure
    10 56, subject to discovery.

    11 X.     STATUS OF DISCOVERY:
    12        The parties have conferred pursuant to Rule 26(f) and the Court’s Scheduling
    13 Order, and have begun discovery and served written discovery requests. On August

    14 2, 2022, defendant Gilberto Garcia Granados served Plaintiff with requests for

    15 production of documents and interrogatories. On August 3, 2022, Plaintiff served

    16 defendants LLDM, Berea, Adoraim Joaquin Zamora, Alma Zamora De Joaquin,

    17 David Mendoza, and Naason Joaquin Garcia with requests for production of

    18 documents. On August 23, 2022, Plaintiff served defendants Aurelio Zavaleta,

    19 Benjamin Joaquin, Gilberto Granados, Jonathan Mendoza, Jose Hernandez, Jose
    20 Luis Estrada, Silverio Coronado, and Uzziel Joaquin with requests for production of

    21 documents. The parties anticipate exchanging initial disclosures under Rule 26(a)

    22 on September 15, 2022.

    23        The parties anticipate conducting discovery of information and documents,
    24 including electronically stored information (“ESI”), located in California. In

    25 addition, Plaintiff maintains that she will need to conduct discovery in Mexico and

    26 possibly other states within the United States. Defendants will object to and oppose

    27 such discovery. Plaintiff contends that she repeatedly had to travel between and

    28 within California and Mexico in order to perform forced labor and engage in sexual
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                                   JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 11 of 19 Page ID #:3092




     1 servitude for the benefit of Defendants. Defendants contend all of the material

     2 allegations of the pleading involve acts and/or omissions that allegedly took place in

     3 in California. The parties discussed the preservation of evidence and all parties

     4 confirmed they are complying with their obligations. The parties agreed on the need

     5 for ESI protocol and anticipate meeting and conferring to prepare one.

     6        At this time, the parties believe that modifications to the limitations on
     7 discovery imposed under the Federal Rules of Civil Procedure may be appropriate.

     8 Because discovery has just begun, it is difficult to determine what modifications will

     9 need to be made. However, the parties anticipate modifications to (1) the number of
    10 depositions and (2) the length of the depositions.

    11        Additionally, the parties have agreed to utilize our Magistrate’s informal
    12 discovery conference (IDC) procedures to resolve discovery disputes that may arise.

    13        The parties anticipate that certain information and documents sought or
    14 referenced in discovery and pretrial preparation may be confidential. The parties

    15 intend to agree on a proposed protective order for the Court’s approval.

    16        The parties agree that inadvertent disclosure of privileged information shall
    17 not constitute a waiver of such privilege, and that the claw-back procedures in Fed.

    18 R. Civ. P. 26(b)(5)(B) shall apply.

    19 XI.    DISCOVERY PLAN:
    20        A.      Timing of Disclosures:
    21        Initial Disclosures will be exchanged on or before September 15, 2022.
    22        B.      Subjects of Discovery:
    23        Plaintiff’s Statement:
    24        Plaintiff anticipates that discovery will be conducted regarding the following
    25 matters:

    26              Defendants’ written communications with or about Plaintiff and her
    27                family;
    28              Defendants’ communications regarding the claims in the complaint;
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                                  JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 12 of 19 Page ID #:3093




     1           Evidence, testimony, statements, and documents from the criminal case
     2             against Naason Joaquin Garcia;
     3           Evidence, testimony, statements, and documents in connection with
     4             other lawsuits filed against LLDM and other defendants for sexual
     5             misconduct;
     6           The relationship among Defendants and their respective roles with
     7             LLDM and Berea, and the conduct alleged in the complaint;
     8           Plaintiff’s roles and responsibilities with LLDM and Berea (including
     9             labor or services she provided (forced, donated, or otherwise) and her
    10             travel, residency, education, and martial plans, expectations and/or
    11             restrictions;
    12           Plaintiff’s monetary, tithing, or donations to LLDM or Berea;
    13           LLDM policies and procedures for monetary, tithing, or donation
    14             requests, and use of any tithings or donations;
    15           Defendant LLDM and Berea’s policies and procedures regarding
    16             sexual misconduct;
    17           Allegations of sexual misconduct against LLDM, or any Apostle,
    18             Bishop, or Minister;
    19           Investigations into allegations of sexual misconduct against LLDM, or
    20             any Apostle, Bishop, or Minister;
    21           Discipline of any LLDM Apostles, bishops, and/or ministers for any
    22             sexual misconduct;
    23           Defendants’ history of covering up sexual misconduct;
    24           Agreements or vows to LLDM or any defendants regarding servitude
    25             or labor;
    26           Defendant LLDM and Berea’s policies and procedures regarding labor;
    27           Defendants’ documents and written communications regarding
    28             allegations of and labor violations against LLDM or Berea;
                                                12
                                  JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 13 of 19 Page ID #:3094




     1             Investigations into allegations of labor violations against LLDM or
     2               Berea;
     3             Discipline of any LLDM Apostles, bishops, and/or ministers for labor
     4               violations;
     5             Discipline of any LLDM member for labor violations;
     6             Supervision of Naasón and Samuel Joaquín Flores as relating to their
     7               interaction with LLDM members at LLDM services, events, and other
     8               activities and minors;
     9             Structure and organization of defendant institutions LLDM and Berea;
    10             Defendants surveillance of Plaintiff and her family;
    11             Defendants financial benefit from the conduct and practices alleged in
    12               the complaint (including trafficking, involuntary servitude and forced
    13               labor);
    14             Defendants’ involvement with the acquisition and use of obscene
    15               matter;
    16             Defendants’ involvement with laundering of money instruments;
    17             Defendants’ involvement with acts of extortion;
    18             The Defendant’s affirmative defenses; and
    19             Appropriate amount of Plaintiff’s monetary relief.
    20         Defendants’ Statement:
    21         To briefly address the topics in Plaintiff’s statement, Defendants contend that
    22 much of the discovery referenced is beyond the scope of this action, subject to

    23 objections, or otherwise improper, harassing, and abusive. Thus, Defendants

    24 anticipate that litigation of these issues will be required. Plaintiff has already started

    25 the onslaught of abusive and harassing discovery. Plaintiff has already served

    26 Defendants with 2,421 document requests. Aside from the volume of requests, the

    27 requests seek production of records generated over the course of, in some cases, four

    28 decades and, in other cases, with no time limitation at all (therefore, seeking records
                                             13
                                    JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 14 of 19 Page ID #:3095




     1 generated during the entire history of the religion).

     2        Defendants anticipate they will seek discovery regarding the following:
     3              All matters relevant to Martin’s causes of action and factual allegations
     4                asserted in the Complaint; and
     5              All matters relevant to Martin’s claimed damages, including but not
     6                limited to Martin’s medical records and diagnosis or treatment.
     7        C.      Phasing of Discovery:
     8        At this time, the parties agree that discovery will not be conducted in phases.
     9 Defendants reserve the right to re-evaluate depending upon how discovery proceeds.
    10        D.      Proposed Limitations on Discovery:
    11        Depositions
    12        The parties agree that they anticipate needing to take more than the
    13 presumptive limit of 10 depositions per side. The parties also agree that certain

    14 depositions may require more than 7 hours to complete the deposition. The parties

    15 agree to discuss accommodations to these rules as necessary and in good faith, and

    16 to resolve any issues without seeking leave of Court.

    17        In addition, for efficiency at depositions, the parties agree that any objection
    18 made at a deposition on behalf of any Defendant shall be deemed to have been made

    19 on behalf of all Defendants (such that all Defendants are not required to verbally
    20 “join” an objection on the record).

    21        Plaintiff’s Additional Statement:
    22        Joint Discovery Requests/Master Interrogatories: The Manual for Complex
    23 Litigation suggests that judges “sometimes require parties with similar positions to

    24 submit a combined set of interrogatories, requests for production, or requests for

    25 admission.” Similarly, the Manual also suggests “Master interrogatories, precluding

    26 duplicate requests. The court should consider requiring similarly situated parties to

    27 confer and develop a single or master set of interrogatories to be served on an

    28 opposing party. If interrogatories have already been served by one party, other
                                             14
                                    JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 15 of 19 Page ID #:3096




     1 parties should be prohibited from asking the same questions, because any party may

     2 use the answers to the interrogatories served by another regardless of who

     3 propounded the interrogatory.” Plaintiff submits that Defendants should be required

     4 to confer on common subjects of discovery in order to limit the burden and

     5 oppression of discovery on Plaintiff and to enable the Court to efficiently manage

     6 discovery.

     7          Ground Rules for Depositions: The Manual for Complex Litigation suggests
     8 that the court consider setting ground rules for depositions including guidelines for

     9 who may attend, location, and who may question the witness. In this case, in light
    10 of the number of parties and the sensitive nature of certain subject matter for

    11 depositions, there should be reasonable guidelines on who may question a deponent

    12 – defendants should be required to confer and designate a primary examiner to

    13 address background and common issues ahead of time in order to prevent

    14 unnecessary and inefficient duplication and waste of time.

    15          Defendants’ Additional Statement:
    16          Defendants do not agree that master interrogatories or combined sets of
    17 discovery should be ordered or that separate requests from any and all of the

    18 individual defendants would be duplicative. Each defendant is entitled to separately

    19 inquire into Plaintiff’s contentions and obtain the evidence, if any, that exists to hold
    20 them each separately liable for the acts and/or omissions.

    21          Defendants do not agree to Plaintiff’s proposal that Defendants be denied
    22 their Sixth Amendment rights, as well as any other rights guaranteed under the

    23 United States Constitution, the California Constitution, or the Rules of Civil

    24 Procedure. Any and all Defendants have a right to engage an attorney of their

    25 choice and to have that attorney confront and examine any witness at deposition or

    26 at trial. Any duplicative or repetitive questions can be addressed on a case-by-case

    27 basis.

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                                    JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 16 of 19 Page ID #:3097




     1         It is unclear what is meant by Plaintiff’s use of the phrases “sensitive nature”
     2 and “reasonable guidelines.” Regardless, Defendants do not believe that any topic

     3 or line of inquiry should be predetermined to be “off limits” at deposition. Due

     4 process requires that Defendants be permitted to examine and cross-examine

     5 witnesses in order to defend against and dispose of causes of action and factual

     6 contentions Martin has asserted, which are themselves of a “sensitive nature.”

     7 Martin cannot advance claims of a sensitive nature and, simultaneously, seek to

     8 preclude inquiry into those matters. Any alleged improper questions can be

     9 addressed on a case-by-case basis.
    10         E.      Other Orders:
    11         Plaintiff’s Statement:
    12         Plaintiff requests that the Court enter an Order setting a status conference
    13 sixty (60) days from the current Scheduling Conference, or on or about November

    14 10, 2022.

    15         Defendants’ Statement:
    16         Defendants have no objection to status conferences and defer to the Court’s
    17 preferences on timing and frequency.

    18 XII. DISCOVERY CUT-OFF:

    19         The proposed discovery cut-off date is October 6, 2023.
    20 XIII. EXPERT DISCOVERY:

    21         The proposed dates for expert discovery are:
    22               Expert Discovery (Initial):      September 22, 2023
    23               Expert Discovery (Rebuttal):     October 6, 2023
    24               Expert Discovery Cutoff:         October 20, 2023
    25 / / /

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                                    JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 17 of 19 Page ID #:3098




     1 XIV. SETTLEMENT CONFERENCE AND ALTERNATIVE DISPUTE

     2         RESOLUTION (“ADR”):
     3         As noted in the “Request: ADR Procedure Selection” form filed concurrently
     4 with this Report, the parties have indicated their preference for ADR Procedure No.

     5 3, as set forth in Local Rule 16-15.4 (private dispute resolution).

     6 XV.     TRIAL ESTIMATE:
     7         Plaintiff has requested a jury trial and, as a best estimate at this time,
     8 estimates trial will last approximately 20 days. At this time, Plaintiff cannot

     9 approximate the number of witnesses needed for trial, but expects this number to be
    10 more than 25.

    11 XVI. TRIAL COUNSEL:

    12         Plaintiff:
    13         Deborah S. Mallgrave
    14         Daniel S. Cha
               Desiree N. Murray
    15

    16         GREENBERG GROSS LLP
               650 Town Center Drive, Suite 1700
    17         Costa Mesa, California 92626
    18         Telephone: (949) 383-2800
               Facsimile: (949) 383-2801
    19
    20         Defendants:
    21

    22         On behalf of Naasón Joaquín García

    23         Alan J. Jackson
    24         Caleb E. Mason
               WERKSMAN JACKSON & QUINN LLP
    25         888 W 6th St, Fourth Floor
    26         Los Angeles, CA 90017
         ///
    27 / / /

    28 / / /
                                              17
                                     JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 18 of 19 Page ID #:3099




     1         On behalf of La Luz del Mundo, an alleged unincorporated association,
     2         Communication Center Berea U.S.A. LLC (erroneously sued as International
               Berea USA), Alma Elizabeth Joaquin (erroneously sued as Alma Zamora de
     3         Joaquin), Adoraim Josadac Joaquin (erroneously sued as Adoraim Joaquin
     4         Zamora)

     5         Reed Aljian (State Bar No. 211010)
     6         DAILY ALJIAN LLP
               100 Bayview Circle, Suite 5500
     7         Newport Beach, CA 92660
     8         Telephone: 949.861.2524
               Facsimile: 949.269.6364
     9
    10         On behalf of Gilberto Garcia Granados, Jose Hernandez, Uzziel Joaquin,
               Silberio Coronado, Aurelio Zavaleta, Jose Luis Estrada, Jonathan Mendoza,
    11         and Benjamin Joaquin Garcia,
    12
               Geoffrey A. Neri
    13         BROWN, NERI, SMITH & KHAN LLP
    14         11601 Wilshire Blvd., Suite 2080
               Los Angeles, CA 90025
    15         Tel: (310) 593-9890
    16         Fax: (310) 593-9980
    17 XVII.MAGISTRATE JUDGE:

    18         The parties do not agree to try the case before a Magistrate Judge.
    19 XVIII.        INDEPENDENT EXPERT OR MASTER:
    20         The parties do not currently anticipate the need for an independent expert or
    21 master.

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                                   JOINT RULE 26(f) REPORT
Case 2:20-cv-01437-FWS-AS Document 152 Filed 08/31/22 Page 19 of 19 Page ID #:3100




     1 XIX. OTHER ISSUES:

     2          None at this time.
     3 DATED: August 31, 2022                       GREENBERG GROSS LLP
     4
                                                    By:         /s/ Deborah S. Mallgrave1
     5                                                    Deborah S. Mallgrave
     6                                                    Daniel S. Cha
                                                          Desiree N. Murray
     7                                                    Attorneys for Plaintiff SOCHIL MARTIN
     8
         DATED: August 31, 2022                     WERKSMAN JACKSON AND QUINN LLP
     9
    10
                                                    By:      /s/ Caleb E. Mason
    11                                                 Caleb E. Mason
                                                       Attorneys for Defendant Naason Joaquin
    12                                                 Garcia
    13
         DATED: August 31, 2022                     DAILY ALJIAN LLP

    14

    15
                                                    By:         /s/ Reed Aljian
                                                          Reed Aljian
    16                                                    Attorneys for Defendants
                                                          COMMUNICATION CENTER BEREA
    17                                                    U.S.A. LLC, erroneously sued as
                                                          INTERNATIONAL BEREA USA,
    18                                                    ALMA ELIZABETH JOAQUIN,
                                                          erroneously sued as ALMA ZAMORA DE
    19                                                    JOAQUIN, and ADORAIM JOSADAC
                                                          JOAQUIN, erroneously sued as ADORAIM
    20                                                    JOAQUÍN ZAMORA
    21 DATED: August 31, 2022                       BROWN NERI SMITH AND KHAN LLP
    22

    23                                              By:          /s/ Geoffrey A. Neri
                                                          Geoffrey A. Neri
    24                                                    Attorneys for Defendants Jose Hernandez,
                                                          Silverio Coronado, Aurelio Zavaleta, Uzziel
    25                                                    Joaquin, Jonathan Mendoza, David
                                                          Mendoza, Benjamin Joaquin and Jose Luis
    26                                                    Estrada
    27
         1
    28    Pursuant to L.R. 5-4.3-4(a)(2)(i), I hereby attest that all other signatories listed, and on whose
         behalf the filing is submitted, concur in the filing’s content and have authorized the filing
                                                  19
                                         JOINT RULE 26(f) REPORT
